Case 5:14

SADIE HACKLER, q
and all others simila

Plaintiff,

V.

TOLTECA ENTERF
PHOENIX RECOV

Defendant.

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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF TEXAS
SAN ANTONIO DIVISION

behalf of herself
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Case No. 5:18-CV-00911-XR

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IISES, INC. d/b/a

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JOINT ADVISORY TO THE COURT

 

Plaintiff an
Enterprises, Inc.

counsel of record

 

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Class Representative Sadie Hackler and Defendant Tolteca
Ib/a Phoenix Recovery Group, by and through their respective

and pursuant to the Court's Order of April 27, 2020 (ECF No. 45)

 

jointly advise the Gaurt of the following:
4. Pursuant|/to the Court’s Order, the parties conferred by conference call on
May 12] 24020 and discussed:
a. Anl changes to Plaintiffs proposed notice to the class;
b. The parties plan to ascertain the names and contact information for all
dlass members;
c. JHe total number of class members;
d. tHe total estimated cost of providing notice to the class;
e. Any agreement as to allocation of costs of notice among the parties;
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_ Plaintiff's

Case 5:14

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agreed to allow Plaintiff's attorneys to directly contact Defendant's
to determine how many of the form letters were sent during the
lass period (beginning August 31, 2017 and ending August 31,
the estimated cost of sending the notice that was approved by the
) no changes suggested by Defendant). Plaintiffs attorney
the mailer via email, with copy to Defendant's counsel, but due a
ation error, that contact was not made until yesterday. The mailer
sponded as of this time.

3 of the cost of mailing the notice, Defendant opposes shifting the
‘efendant. Defendant does not waive its right to appeal the class
n order or the partial summary judgment order.

counsel will update the Court as soon as the mailer responds with

formation concerning the class size and costs of notice.

Respectfully submitted,

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| certify by

correct copy of the

Court’s Electronic

Tom Clarke

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Counsel for Defendant, Tolteca Enterprises
d/b/a Phoenix Recover Group

 

CERTIFICATE OF SERVICE

y signature below that on May 27th 2020, | have caused a true and
hbove and foregoing to be served on all counsel of record through the
ling Noticing System.

 

WILLIAM M. CLANTON

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BENJAMIN R. BINGHAM

 

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